DANIA GISELLE CRUZ MEJIA, ET AL

versus

BROTHERS PETROLEUM, LLC, ET AL

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

CIVIL ACTION No. 2:12-CV-02842
SECTION “R”

JUDGE SARAH 8S. VANCE

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MAGISTRATE DANIEL E.
KNOWLES, III

DECLARATION OF SALMAN ALESES

I, Salman Aleses, hereby declare as follows:

. lam over the age of 21, and I am fully competent to make this Declaration. I

have personal knowledge of the facts stated herein, and they are all true and
correct to the best of my knowledge.

I am a Plaintiff in the above captioned matter before this Honorable Court.

On October 29, 2014, I was contacted by Ihsan Almizayan, a manager for
Brothers Food Mart. Mr. Almizayan stated that the business didn’t want any
problems and asked me if I would drop my lawsuit. Mr. Almizayan also told me
that if I dropped the lawsuit, I could go back to work. Mr. Almizayan asked me to
speak with Ziad Mousa Hamdam about going back to work. Mr. Hamdam is one
of the owners of Brothers.

On October 30, 2014, I visited Mr. Almizayan at the Brothers Food Mart located
on Downs Blvd.. He stated that Mr. Hamdam advised that I could not return to
work. Mr. Almizayan suggested that I call Mr. Hamdam myself if I wanted to
talk to him.

On October 30, 2014, I spoke to Mr. Hamdam. Mr. Hamdam told me that I could
return to work at any store other than the Downs Blvd. store.

On October 31, 2014 I was contacted via telephone by Mr. Hamdam. Mr.
Hamdam stated that he thought I had dropped the lawsuit, and that he was very
upset that I hadn’t done so.
7. Mr. Hamdam stated that he knows my current employer and threatened to inform
my current employer about the lawsuit. Mr. Hamdam also threatened to tell my
current employer to fire me.

8. On November 1, 2014, I received a telephone call from Abu Osama, who I
believe to be the bookkeeper for Brothers’. He stated that he was aware of my
lawsuit against Brothers. Mr. Osama also attempted to convince me to drop my
lawsuit.

I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing
is true and correct to the best of my knowledge.

Executed on the 6th day of November, 2014.

Ca

~~ Salman Aleses
